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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 PUBLIX ASSET MANAGEMENT COMPANY
 AND
 PUBLIX SUPER MARKETS, INC.

                       Plaintiffs,

 v.                                               8:21-CV-2404-MSS-TGW

 PHARMAPACKS, LLC AND
 PACKABLE HOLDINGS, LLC

                       Defendants.




            JOINT NOTICE OF CONFIDENTIAL SETTLEMENT

       Pursuant to Local Rule 3.09, Plaintiffs Publix Asset Management Company

and Publix Supermarkets, Inc. and Defendants Pharmapacks, LLC and Packable

Holdings, LLC hereby notify the Court that they have reached a settlement in

principle, and are in the process of finalizing the written and confidential

settlement agreement to resolve this matter.

       Pursuant to Local Rule 3.09, the Parties respectfully request that the Court

enter an order that the case be dismissed subject to the right of the Parties to file a

motion for the purpose of entering a stipulated final order or a judgment or for

further proceedings within 60 days.
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  Respectfully submitted on March 4, 2022,

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